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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

TQP DEVELOPMENT, LLC

              Plaintiff,
                                                       CIVIL ACTION NO. 2:14-cv-563
       v.

ALLIED ELECTRONICS, INC.,                                JURY TRIAL DEMANDED

              Defendant.


             JOINT MOTION TO DISMISS ALL CLAIMS WITHOUT PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and (a)(2), Plaintiff TQP Development, LLC

(“TQP”) and Defendant Allied Electronics, Inc. (“Allied”), collectively the “Parties”, through their

counsel of record, jointly move the Court for a dismissal of all claims between the Parties without

prejudice as follows:

        1.     TQP consents to dismissal without prejudice of all of its claims against Allied in

this suit.

        2.     Allied consents to dismissal without prejudice of all of its claims against TQP in

this suit.

        3.     The Parties shall each bear their own costs and fees, including attorneys’ fees, in

accordance with the above-captioned suit and the underlying transactions.


DATED August 7, 2014.                                Respectfully submitted,

                                                     By: /s/ Austin Hansley
                                                     AUSTIN HANSLEY P.L.L.C.
                                                     Austin Hansley
                                                     Texas Bar No.: 24073081
                                                     5050 Quorum Dr. Suite 700
                                                     Dallas, Texas 75254
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                                                     Telephone:   (469) 587-9776
                                                     Facsimile:   (855) 347-6329
                                                     Email: Austin@TheTexasLawOffice.com
                                                     www.TheTexasLawOffice.com
                                                     ATTORNEY FOR PLAINTIFF TQP
                                                     DEVELOPMENT, LLC.

                                                     /s/ Neil J. McNabnay
                                                     Neil J. McNabnay
                                                     Texas Bar No. 24002583
                                                     mcnabnay@fr.com
                                                     Ricardo J. Bonilla
                                                     Texas Bar No. 24082704
                                                     rbonilla@fr.com
                                                     Fish & Richardson P.C.
                                                     1717 Main Street, Suite 5000
                                                     Dallas, Texas 75201
                                                     (214) 747-5070 - Telephone
                                                     (214) 747-2091 – Facsimile

                                                     /s/ Wasif Qureshi
                                                     Wasif Qureshi
                                                     Texas Bar No. 24048155
                                                     qureshi@fr.com
                                                     Fish & Richardson P.C.
                                                     1221 McKinney St., Suite 2800
                                                     Houston, Texas 77010
                                                     (713) 654-5300 – Telephone
                                                     (713) 652-0109 – Facsimile
                                                     ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2014, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.


                                                     /s/ Austin Hansley
                                                     Austin Hansley
